AO 91   (Re~.   11/11) Criminal Complaint
                                                                                                                            Fii   ED
                                        UNITED STATES DISTRICT COURT                                                       DEC 2 0 2018
                                                                    for the
                                                                                                                     PETEFi.A. MOORE, JR;, CLERK
                                                    Eastern District of North Carolina                                US DISTif)5°URT, EDNC
                                                                                                                    BY                    DEPCLK

                     United States of America                            )'
                                   v.                                    )
                                                                         )     Case No.
                       Deandre Lamont Miles
                                                                         )
                                                                         )
                                                                         .)
                                                                         )
                              Defendant(s)


                                                    CRIMINAL COMPLAINT
           I, the complain~t in this case, state that the following is trtJe to the best of my knowledge and belief.
On or about the date(s) of                   December 18, 2018       ·        in the county of              Granville              in the
        Eastern           District of        North Carolina        , the defendant(s) violated:

                Code Section                                                     Offense Descriptiorz
21 USC 841(a)(1)                                    The Defendant did knowingly and ir.ttentionally possess with the intent to
                                                  · distribute four-hundred (400) grams or more of a mixture and substance
                                                    containing a detectable amount of ·.         .                         ·
                                                    N-phenyl-N-[1-(2-phenylethyl)~4-pip_eridinyl] propanamide, or fentanyl, a
                                                    Schedule II controlled substance.




          This criminal complaint is based on these facts:

On Decel)'lber 18, 2018, Deandre Lamont Miles did possess with the intent to distribute four-hundred· (400) grams or.
more of a mixtu.re and substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]
propanamide, or fentanyl, a Schedule ll controlled substar.tce, in violation of 21 USC 841 (a)(1).



          ~ Continued on the attached sheet.




                                                                                                 Jeffrey White - HSI SA
                                                                                                  Printed name and title

Sworn_to before me and signed in my presence.



Date:     /z./eoh f'C
                                                                                            7JUdge'SSiglU]ture
                                             ,,
City and state:                      Raleigh, North Carolina                        Robert T. Numbers, II, US Magistrate Judge
                                                                                                  Printed name and title



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                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         WESTERN DIVISION

                                                 AFFIDAVIT

I, Jeffrey R. White, being first duly sworn depose and say:




    1. .Your affiant, Jeffrey R. White is a Special Agent for the United States Department of Homeland

        Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Security lnvestigation.s

        (HSI), and has been so employed since March of 2004. I am a graduate of the Federal Law

        Enforceme~t Training Center for both the fed.era! crimirial   investigator course, as well as the.ICE

        Special Agent training academy. Prior to becoming a Special Agent (SA) with HSI, I was a United

        States Customs Inspector atthe Port of El Paso, Texas from April of 2000 to March of 2004. For

        that position I successfully completed courses for basic federal law enforcement, as well as United
                               .                                                            .
        States Customs law. I am currently assign'ed to the Office of the Resident Agent in Charge (RAC),

        Raleigh, North Carolina (NC).

   2.     have acquir.ed expe.rience in investigating cases .involving aliens a_nd nationality, narcotics

        trafficking, weapons and explosive devices;· money laundering, intellectual property rights

        violations, cybercril!les, child pornography and exploitation, import/export and related criminal

        activities. As a HSI Special Agent, I am responsible for .conducting criminal investigations into

        violations of Titles 8, 18, 19 and 21-of the United States Code, as well ·as other federal criminal

        titles and statutes. In furtherance of my investigations, I have filed crimi.nal complaints and

        affidavits with the United States District Court and have testified in support of facts therein. In

        addition to my experiences as an HSI Special Agent; a Customs and Border Protection Officer and ..

        a Customs Inspector I have, on numerous occasions, conducted interviews and interrogations

        resulting in both probable cause findings and criminal convictio.ns in United States Distri.ct Court.



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        3. This affidavit ·is submitted as evidence of probable cause supporting the arrest warrant for

              Deandre Lamont MILES (hereinafter "MILES") for possession with the intent to di,stribute 400

             grams or more of substance containing a detectable amount of fentanyl, in violation' of _Title 21,

              United States Code, Section 841(a)(1). This affidavit does not set forth all information known to

             your afflant about this case and is being submitted for the purpose of providing sufficient

             information to establish probable cause.

        4.   On or about February 17, 2018> Agent DJ Epperson with the Halifax Co1,1nty Sheriffs Office (HCSO)

             Narcotics Division began receiving drug trafficking information regarding Deandre MILES also

             known as DD from a confidential and reliable source (CS1). CS1.stated that MILES is a major

             supplier of heroin and fentanyl in Halifax and Northampton Counties. CS1 also informed Agent

             Epperson that MILES is known to make several trips to various locations to include South Carolina,

             to pick up large· amounts of narcotics and bring the narcotics back to the area of Warner Bridge

             Road, located in Northampton County, NC.

        5.   On February 29th, 2018 Agent Epperson received a phone call from CS1 stating that MILES had just

             returned from making a trip to obtain additional controlled sub~tances. CS1 also stated during the

             phone call that MILES stated to CS1.to come pick up the product.

        6.   CS1 informed Agent Epperson that the normal routine for MILES was to call all· the local dealers

             in the area once he returned to town and the dealers would travel to pick up the product from

             MILES in the area of Warner Bridge Road, Northampton County, NC. With this informati.on,

             Agents were able to set up in the vicinity of Warner Bridge and conduct surveillance on MILES.

r   .        While conducting surveillance, Agent C. Babb was able to follow a vehicle from the Warner Bridge

             area, onto Interstate Highway Ninety-Five (1-95)   tra~eling   south bound into Halifax County. Once

             in Halifax County Agent Babb attempted to conduct a traffic stop of the vehicle which resulted in
               I                                                .




             a high-speed vehicle pursuit through the town of Roanoke Rapids, NC.




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                                                               .       I   .
· 7. ·On February 30th, 2018, Agent Epperson received another phone call from CSl who stated that

          during the above-mentioned vehicle pursuit, the subjecfs inside the vehicle.threw approximately
               .                  •                   I   .·                            .




          five ounces of heroin out of the window. CSl stated the five ounces were supplied directly from

          MILES.

 8.       On October 26, 2018, Agents of the HCSO Narcotics Division executed a narcotics search warrant

          at the residence of 5 Victory Lane, Roanoke Rapids, NC. As a result of the sea.rch warrant, agents

          located app·roximately 393.2. grams of heroin. During a follow up interview, a coope~ating
                                                  .                                         .
          defendant stated that MILES was the supplier and that he (MILES) brought the heroin that was

          . seized directlyto that residence from the area of Warner Bridge Road, Nor,thampton County, NC.
                                                                                   .·                 t   .
           .                                                                                    .   I .       .
 9.       On October 29, 2018, Agent Epperson received a phone call a reliable, confidential source (CS3)
                                              .                    (


      · stating that Ml.LES had just arrived in the area of Warner Bridge Rd. Northampton County and had

          brought back "three bricks" of heroin. Agent qJ Epperson then asked CS3 what was the definition

          of three bricks .and CS3 stated three kilos of heroin. ·cs3 stated that MILES tra·veled from Raleigh,

          NC, driving the black Camara and delivered the three kilos of heroin to the Warner Bridge area.

 10. On November 12, 2018, HSCO Captain (Capt;) A. Harris received information from a different;

                   '
          reliable confidential source (CS2) stating that M.ILES ·an~ Deandre MOODY departed that same

          date arid were traveling to New York, New York to pick up one pound of heroin and approximately

          4,000 fentanyl pills. CS2 stated that MILES and MOODY would then bring the narcotics back to the

      . area of Warner Bridge Road, Northampton County, NC. Agent Epperson was able to verify this
      .                                                                        .

          information by looking at MILES' wife's Facebook page. MILES' wife, Jasmine MILES
                                                                                         .. (also known
          as Jasmine Parker) made a public post .stating t.hat MILES had left going to New York and would·

          be back in town tomorrow.

11. ·On November 13, 2018, NC State Bureau of Investigation (SBI) Special Agent (SA) Stephen Staton.

          applied for and was granted   acourt order to captu're call arid cellular data from the telephones


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    associated with MILES ·and MOODY. Pursuant to the court order; the.SB! was able to determine

    that the cell phone associated with MOODY was located in the vicinity of Baltimore, Maryland.

    Subsequent data showed that the cellular phone was traveling south on 1-95.

12. The SBI was able to· locate the ·cell towers utilized by MOODY'S cell phone and discovered that the

    phone had been in New York City, verifying the information that was provided to the HCSO. .

13. Agent Epperson was aware of several vehicles that were registered to MILES. One of those

    vehicles was a black Chevrolet Cam.aro. Homeland Security Investigations (HSI) SA Jeff White

    contacted Granville County Sheriff's Office (GCSO) Deputy (Dep.) Shawn Spence and requested

   that he drive by 214 East Lyons St., Creedmoor, NC, an address associated with MILES to identify

    which vehicles were at' that residence. Dep. Spence stated that he did not observe a black Camara

    at the reside11ce at that time. Agent Epperson then drove by the area bf Warner Bridge Road and

   .noticed that the Camara was not located at that locat.ion either. At that point it was suspected

   that MILES arid MOODY were returning from New York in the Camara.

14. Later th.at Agent Epperson drove by of the area of Warner Bridge Road. Agent Epperson located
                                 .            /                 .


  . the Camara registered to MILES as well as an all-white Crown Victoria registered to MOODY

   parked a_t the top ofthe path of the area of Warner Bridge Road. This verified that MILES and

   MOODY had returned from New York and had been driving the Camara.

15. On ~ovember 15, 2018, Agent Epperson received a phone call. from CS3 who was in the area of

   Warner Bridge during the time that MILES was there and was selling narcotics. CS3 said that MILES.
           .                                                .


   had. two black trash bags full of raw heroin inside of the trunk of a BMW that is registered to

   MILES. CS3 stated that MILES was distributing the narcotics directly from the trunk of the vehicle

   to several people.

16. On November 26, 2018, Agent Epperson applied for a court order to emplace and monitor a GPS

   tracking devi.ce on to the Camara registered to MILES.




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17. On November 30, 2018, Agent Epperson and other HCSO Agents emplaced a GPS tracker on the

      Camara regi.stered to MILES and conducted ~l.irveillance of MILES activities.

18. On December i8, 2018, HCSO Agent C. Parker contacted ·SA White and informed him that the

      Camara had departed the residence at 214 East Lyons St., Creedmoor, NC. and. traveled to

      Charlotte, NC. Upon arrival in Charlotte, the Camara stopped at two gas stations for

      approximately ten m'inutes ·each. The Camara then traveled to an apartment complex located at

      9600 Perimeter Station Drive, Charlotte, NC. The Camara remained at that location for

      approximately twentx minutes, departed and began traveling e.astbound on 1-85.

19. SA White then departed Cary, NC and traveled.west bound to intercept the Camara. Upon locating

      the Camara, SA White began surveillance.

20. The Camara stopped at the      Tang~r   Factory Outlet Stores located at 4000 Arrowhead Boulevard,
  .                        .

      Mebane, NC. SA White observed the Camara de·p~rt the Outlet Stores and travel eastbound on I-

  · 40/85. The Camara exited the interstate after traveling eastbound for only 3 MILES. At the exit SA

      White was able to clearly see the driver and the passenger of the Camara. SA White is familie;ir

      With MILES and his spo':lse, Jasmine Parker and was able to positively identify MILES as t~e driver.

      ~nd   Parker as the passenger. MILES and Parker then reentered the_ interstate and traveled

      eastbound where they turned onto 1-85. MILES exited the interstate and stopped at a gas station

      at exit 164. After a short while, MILES reentered 1-85 and continued in the direction of Creedmoor,

      NC.

21. SA \JYhite contact~d Dep. Spence and requested his assistance in conducting an investigative stop ·

      of MILES. Dep. Spence indicated that he was willing to assist. Dep. Spence then took the

      information that SA White provided and quiered MILES driver's license information and criminal

      history. Dep. Spence discovered that there was a not~tion for an active warrant for MILES arrest
                                                              I
      from N_orthampton County, NC .. He also discovered that MILES had a lengthy criminal history




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   . involving narcotics and firearms: Deputy Spence verified that the vehicle came back registered to

    the address of 214 East Lyon St Creedmoor, NC. Based on conversations with SA White, Dep.

    Spence believed that if stopped MILES might flee .and or possess a firearm that he might try to

    use. Therefore Dep. Spence requested Dep. Campbell assistance with his K-9 and Dep. Womacks

    assistance as a backup officers.

22. Based on the address and MILES direction of travel Dep. Spence and Dep Womack sat at the 186

    off ramp watching the Northbound traffic lanes. Dep. Campbell was positioned on Hwy 15 North

    out of sight.· Shortly thereafter Dep. Spence was advised that MILES was crossing into Granville

    County 'and the Falls Lake Bridge. Dep. Spence ~aw a black in color Chevy Camara with two

    occupants~   As it passed they verified that MILES was the driver of the vehicle and there was a
                            .                        .
    female passenger inthe front passenger's seat. Dep. Spe.nce also verified the NC registration plate

    on the vehicle positively identifying it as the vehicle they were looking for. Dep. Spence pulled on

    to the roadway and caught up to MILES who quickly exited off at exit 186. MILES turned right

    orito US Highway (Hwy) 15. North and before a traffic stop was initiated MILES turned into.the

    parking lot of the Variety Mart Convenience store, less than a· quarter mile from the exit. Before

    MILES could try to exit his vehicle, Dep. Spence initiated th~ investigatory stop. MILES pulled onto

   the lot and stopped.

23. Dep. Spence approached the passenger's, side of the vehicle in order to use the car and the female

   as cover if in fact MILES intended on using a weapon.          Dep. Spence identified himself and
                                                                                          I
    requested MILES driver's    licens~   and the registration to the vehicle .. While waiting for the

   documents it was immediately apparent that the overwhelming· odor of marijuana was coming

   from inside the vehicle. MILES provided his registration and his license: Both addresses were

   different, so Dep. Spence asked him where he was currently living. MILES stated that he had been

   living at the address in Creedmoor but hadn't had time to change his license. MILES started asking




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    questions why he was being stopped and Dep. Spence didn't feel it prudent to inform him that he

    had a warrant while he was still sitting the vehicle, so MILES was asked to step from the vehicle

    to verify his documents and current address. MILES stepped from the vehicle and sat in Dep.
       .                        .                                                                     '


    Spence's front passenger's seat. Shor~ly thereafter Dep. Womack pulled in behind Dep. Spence's

    vehicle arid spoke to MILES at the front passenger's door. While Dep. Spence spoke to MILES,

    Dep. Womack walked to MILES vehicle and spoke to the front passenger. w~o was later identified

    as Jasmine Jacque! Parker by her NC driver's license.

· 24. MILES told Dep. Spence.that he and Parker were returning from doing some.Christmas shopping

    and were headed to their residence on Lyon St. Dep. Womack then positio~ed himself at the

    front. driver's door of Dep: Spences vehicle so that MILES wouldn't be able to exit the vehicle.

    Dep. Spehce went back to the vehicle and spoke to Parker and informed her that MILES had an

   . outstanding warrant. Dep. Spence then asked her to step from the vehicle. After Parker was out

    of the vehicle Dep. Spence turned to MILES and asked him.when he last smoked marijuana in tlie

    v.eliicle. MILES stated that they ha·d smo.ked ori the way back from their shopping trip. Based on.

    what' Dep. Spence had obtained from SA White he believed that there was a larger quantity of

    narcotics still located in the vehicle. Dep. Womack was. asked to detain MILES based on the

    outstanding warrant ·and did so.

25. Dep. Spence then requested that Qep. Campbeil come to the scene to conduct a· K-9 scan of; the

    vehicle. Shortly thereafter Dep. Campbell arrived on scene~ Dep. Spence informed Dep. Campbell

    that he had already det~cted the odor of marijuana coming from the vehicle but asked Dep.

    Campbell if he wanted to still conduct a scan of the vehicle. Dep. Campbell stated that he would

    like to do the scan. Dep. Campbell initiated the scan of the exter.ior and. received a positive K-9

    alert to the presence of narcotics in the vehicle. This K-9 alert was captured on Dep. Spence's in




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    car camera system. Dep. Spence informed MILES that in addition to the odor of marijuana coming
                '     .                                       .                     .
    from inside the vehicle that the K-9 had alerted to the presence of narcotics in the vehicle ..

· 26. Dep. Spence and Dep. Womack initiated a hand search of Mile's vehicle. Parker was allowed to

    stand next to Dep. Spence's ve.hicle during the search and Dep. Campbell stood next to the front

   · passenger's door of Dep. Spence's vehicle.

27. During the search, ·Dep. Spence located an E-Vape in the driver's door which contained liquid THC.
                                                 -.,

    There was at least orie air freshener hanging from the rear-view mirror. Dep. Spence then twned

   · his attention to the ~ear seat area where he saw a brown paper bag wedged between the driver's

    seat and the second-row seat. Dep. Spence had to reposition the seat to get the bag out. Once

    it was removed Dep. Spence could see a cardboard shoe box inside the larger brown bag. Dep.

    Spence removed the shoe box and opened it. The only thing inside. the shoe box was a white .

    plastic bag. Dep. Spence removed the pla·stic bag from the box and could feel what tie knew to

    be a large quantity of pills.       Dep. Spence opened the bag and saw what he believed to be :

    approximately 10,0'00 small blue pills contai~ed inside ·an additional gallon Ziploc bag. Dep.

    Spence then turned to Dep. Womack and told him that .lie was also detaining Parker. Parker was

    subsequently handcuffed and both Parker·and MILES were read their Miranda Warnings. Both

    stated that they understood: MILES immediately stated that he wasn't answering any questions,

    and none were a.sked to him.

28. Parker was placed in Dep. Womack's patrol vehicle in order to keep them from talking to each

    other. Dep. Spence then placed the shoe box and bag of pills on the hood of his patrol vehicle so
                                    .                             '                          ..
   · the pills could be captured by his in-car camera. While lookin·g at the pills Dep. Womack stated

   . that he believed the pills to be Fentanyl. While Dep. Womack continued the search of the vehicle

    Dep. Spence contacted SA White and informed him of his findings. Dep. Sperice requested that

    SA White come to the scene to assist with the stop.


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      ?9. While completing the search of the :vehicle Dep. Womack located two cell phones strategically
r.

          hidden underneath the tir~ cover in the trunk of the vehicle. De·p. Spence located an additional

          cell phone in the back floorboard where the narcotics had been found along with a pine tree. air- ·

          freshener. Dep_. Spence found an additional cell phone inside the center conso.le of the vehicle.

          Dep. Spence found an additional cell phone wedged between the center console. and the front

          .passengers seat: A spray bottle of "BLUNT" spray, a masking deodorant, was found in the driver's

          floorboard where Mile's fe~t would have been. Marijuana residue was found throughout the

          front passenger's area of the ve_hide.

      30. SA White arrived at the scene and MILES called out to him from the front seat of Dep: Spence's

          patrol car. A GCSO Deputy informed SA White that he (MILES) had already decline to speak with

          them. MILES continued to call out to SA White. SA White requested that the Deputy acth/ate his
 .,
          body mounted video camera to_ memorialize his.conversation with MILES. SAWhite then walked·

          over to MILES and introduced himself. He.(SA White) asked MILES if he wished to speak with him,

          even though he had told the GCSO that he did not want to talk. MILES indicated that he wished

          to speak:with SA White. MILES added that he wanted it known that the prugs in the car were

          solely hi_s (MILES) responsibility and that his spouse (Parker) had nothing to do with it. SA White .

         told MILES that he would be happy to speak with him and that they would all go the GCSO

         substation in Butner, NC and talk.

      31. Upon arrival at the GCSO substation SA White was joined by SA Staton. SA White, SA Staton arid

          MILES sat down in the training room of the substation. SA White activated a digital audio recorder

         and the entirety of. the interview was recorded on that device. SA White asked MILES if he ha·d

        · been ~dvised of his Miranda rights by the GCSO on the roadside and explained that this interview

         was bein·g conducted at his (MILES) request·and been initiated by him (MILES) and he agreed. SA




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              (
        White then verbally advised MILES of his Miranda rights and after being advised MILES stated that .

        he wished to speak with SA White and SA Staton.

    32. MILES stated ttiat he had traveled that same day to ·an apartment located in Charlotte, NC ~rid

        purchased approximately 10,000 fentanyl pills for $50,000. He claimed that he purchased ttiem

        in the parking lot of the apartment complex from an individual that he refers to as "TJ'S Boy."

        MILES added that he had previously contacted "TJ's Boy'' the previous Friday and. Sunday t6

        arrange the meeting.

    33. MILES repeatedly stated that the.fentanyl pills were his and that-his spouse had rio knowled_ge of

       them.
                                        '                              .
   34. On December 19, 2018 Dep. Spence weighed the bag of blue pills and discovered that the-gross
         I               ,
       weight of the bag and pills was approximate.Iv 2.24 pounds.

   35. Based upon my experience.and training, I believe probable cause exists that Deandre Lamont

        MILES, was found on December 18, 2018, in Granville County, North Carolina, within the

       Eastern District of North Carolina is in violation of Title 21, United States Code, Section 841

       (a) (1), and a warrant of arrest should be issued.

Further affiant sayeth naught.

                                                                                  JEFFREY R. WHITE
                                                                                      Special Agent,
                                                                     Homeland Security Investigations



On this ~day of ~eS 2018, SA White appeared before me via reliable electronic
means, was placed .under oath,· and att.ested to the contents of this Affidavit.




                                                                        United States Magistrate Judge
                                                                      East~rn District of North Carolina

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